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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   INDIANAPOLIS DIVISION

  UNITED STATES OF AMERICA,                         )
                                                    )
                                 Plaintiff,         )
                                                    )
                        v.                          ) Case No. 1:12-cr-00102-TWP-DML-15
                                                    )
  STEPHEN D. DUFF (15),                             )
                                                    )
                                 Defendant.         )

           ENTRY ON DEFENDANT DUFF’S MOTION IN LIMINE (Dkt. 1633)

        This matter is before the Court on Defendant Stephen D. Duff’s (“Mr. Duff”) Motion in

 Limine as to Government’s Notice Regarding Rule 404(b) Evidence. The Government has given

 notice that it will present evidence that Bryan Glaze (“Mr. Glaze”) and Mr. Duff assaulted Adan

 Sanchez-Sarmiento (“Mr. Sanchez-Sarmiento”) on November 19, 2009, and although Joshua

 Bowser (“Mr. Bowser”) did not participate in the assault Mr. Bowser and Mr. Glaze both pled

 guilty to this offense. The Government clarified that it would use this evidence to show Mr.

 Duff’s motive for participating in the alleged mail fraud offense; that being, Mr. Duff owed a

 debt to the Black Region Outlaws Motorcycle Club (“OMC”) in the amount of $2,000.00 for Mr.

 Bowser’s legal fees.        For the reasons set forth below, Mr. Duff’s motion (Dkt. 1633) is

 DENIED.

                                          I. BACKGROUND

 A.     Procedural History

        The original indictment in this matter was filed July 3, 2012. On October 12, 2012, a

 Superseding Indictment was filed, and a Second Superseding Indictment charging forty-nine

 counts against multiple defendants was filed in this case on July 10, 2013. Mr. Duff is named
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 has been charged with racketeering acts, mail fraud, and related offenses. The mail fraud charge

 forms the basis of the racketeering charge and Count II of the Indictment. Mr. Duff is set for

 trial with co-defendants on September 9, 2013.

 B.     Factual History

        On November 13, 2009, Mr. Sanchez-Sarmiento was assaulted outside of the OMC

 Clubhouse. The Government alleges that although the assault was carried out by Mr. Glaze and

 Mr. Duff, Mr. Bowser and Mr. Glaze were charged with and pleaded guilty to the offense. Mr.

 Bowser incurred legal fees which were advanced by the OMC’s Black Region. At that time, Mr.

 Glaze was the president of the OMC. The Government alleges that Mr. Glaze brokered an

 agreement between Mr. Duff and Mr. Bowser whereby Mr. Bowser would plead guilty to the

 assault and Mr. Duff would reimburse the Black Region for Mr. Bowser’s legal fees.

        The Government alleges that Mr. Duff participated in the mail fraud offense charged

 herein, in order to obtain reimbursement funds. Specifically, on March 15, 2010, Mr. Duff, Mr.

 Bowser, and co-defendants were involved in a staged automobile accident in an attempt to obtain

 money that Mr. Duff could use to reimburse the Black Region. The Government alleges that Mr.

 Duff did not receive a settlement from the insurance company; therefore, he could not repay the

 Black Region. Mr. Bowser then traveled to Ohio to collect the payment from Mr. Duff, which

 was captured during court-authorized wire surveillance.

                                    II. LEGAL STANDARD

        The Court excludes evidence on a motion in limine only if the evidence clearly is not

 admissible for any purpose. See Hawthorne Partners v. AT&T Technologies, Inc., 831 F. Supp.

 1398, 1400(N.D. Ill. 1993). Unless evidence meets this exacting standard, evidentiary rulings

 must be deferred until trial so questions of foundation, relevancy, and prejudice may be resolved



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 in context. Id. at 1400-01. The Court will only exclude evidence on a motion in limine,

 however, if the evidence is inadmissible on all potential grounds. Id. (citing Betts v. City of

 Chicago, 784 F.Supp.2d 1020 (N.D.Ill.2011) (internal quotations omitted) (special emphasis

 added). Thus, “if the evidence does not satisfy this high standard, the evidentiary ruling must be

 deferred until trial so that questions of foundation, relevancy and potential prejudice may be

 resolved in proper context.” United States v. Griffin, 2012 WL 5377875, 1 (S.D.Ind.2012)

 (citing Hawthorne Partners v. AT & T Technologies, Inc., 831 F.Supp. 1398.

                                        III. DISCUSSION

        Federal Rule of Evidence 404(b)(1) states that “[e]vidence of other crimes, wrongs, or

 acts is not admissible to prove the character of a person in order to show action in conformity

 therewith.” Rule 404(b)(2) allows such evidence when it is used for another purpose, such as

 proving motive, opportunity, intent, preparation, plan, knowledge, identity, absence of mistake,

 or lack of accident. The Seventh Circuit has provided a four-part test to be used in 404(b)

 determinations. Courts are to consider whether:

        (1) the evidence is directed toward establishing a matter in issue other than the
        defendant’s propensity to commit the crime charged; (2) the evidence shows that
        the other act is similar enough and close enough in time to be relevant to the
        matter in issue; (3) the evidence is sufficient to support a jury finding that the
        defendant committed the similar act; and (4) the probative value of the evidence is
        not substantially outweighed by the danger of unfair prejudice.

 United States v. Howard, 692 F.3d 697, 703 (7th Cir. 2012).

        Mr. Duff argues the Government’s proffered 404(b) evidence should be excluded for two

 reasons. First, it undermines and is a collateral attack on a valid state court judgment. Second, it

 fails under the 404(b) four-part test articulated by the Seventh Circuit and described above.

        Addressing Mr. Duff’s first argument, the Court recognizes his concern.                  If the

 Government wanted to present evidence that Mr. Bowser did not commit the assault on Mr.

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 Sanchez-Sarmiento to prove the existence of that fact, the Court would be concerned that the

 evidence could lead to “incongruous results.” Dkt. 1794 at 2. However, the Government is not

 making a collateral attack on Mr. Bowser’s plea agreement or the state court judgment, but only

 seeks to introduce evidence suggesting Mr. Duff committed the assault and it created a motive to

 engage in the mail fraud scheme. This is not an instance where allowing this evidence would

 create “two conflicting resolutions arising out of the same or identical transaction.” Heck v.

 Humphrey, 512 U.S. 477, 484 (1994). The use of this evidence has no bearing on the underlying

 state court judgment. Therefore, the evidence is not inadmissible on this basis.

        Second, Mr. Duff argues that the evidence fails the four-part test for admissibility of

 404(b) evidence. Specifically, he argues that the evidence is too attenuated to prove motive, is

 not similar enough to be relevant, is not sufficient to support a jury finding that he committed the

 assault, and is unfairly prejudicial. As the Government argues in its response, when 404(b)

 evidence is offered to show motive, similarity is not required. When such evidence is used to

 establish motive, the Seventh Circuit has instructed that “‘[p]ropensity’ evidence and ‘motive’

 evidence need not overlap.” United States v. Cunningham, 103 F.3d 553, 556 (7th Cir. 1996).

 Such evidence does not overlap when, for example, “past drug convictions are used to show that

 the defendant in a robbery case is an addict and his addiction is offered as the motive for the

 robbery.” Id. Thus, the Court is not persuaded by Mr. Duff’s argument that the evidence of a

 prior violent act is not similar enough to be relevant to the mail fraud scheme. The Court further

 disagrees that the evidence “offers such little probative value as it applies to motive for

 committing mail fraud that the only effect this evidence would have on the jury is [to] show that

 Mr. Duff has a propensity to commit crimes in association with the OMC.” Dkt. 1633 at 9.

 Instead, the Court finds that the proffered evidence is permissible to show that Mr. Duff



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 possessed a motive to participate in the mail fraud scheme. See United States v. Kuzlik, 468 F.3d

 972, 974 (7th Cir. 2006) (finding that evidence of financial troubles and debt probative to show

 motive to engage in fraudulent scheme).

          Mr. Duff also challenges the sufficiency of the evidence offered in support of the

 Government’s proffer. The Government argues that witness testimony, wiretap testimony, and

 consensually recorded telephone conversations involving Mr. Duff will support a jury finding

 that Mr. Duff committed the assault. At this stage of the litigation, the Court cannot find that this

 evidence is insufficient.

          Finally, Mr. Duff argues the evidence is unfairly prejudicial under the fourth prong of the

 four-part test. He contends that allowing this evidence would create “hours, possibly days, of

 testimony regarding a violent crime that occurred three and a half years ago, that has been fully

 adjudicated in state court.” Dkt. 1633 at 13. The Government responds, and the Court agrees,

 that such a result is unlikely. The assault resulted in only a misdemeanor conviction, it did not

 involve serious injury to the victim and the Government does not intend to offer the testimony of

 Mr. Sanchez-Sarmiento. Because the Court is responsible for control of the proceedings, the

 Court can limit the presentation of evidence in this regard to avoid undue delay, waste of time or

 needless presentation of cumulative evidence. Federal Rule of Evidence 403 allows exclusion of

 even relevant evidence based on undue delay or waste of time and Federal Rule of Evidence 611

 directs the Court to control the presentation of evidence to “avoid needless consumption of

 time.”

          Although the proffered evidence is that Mr. Duff committed a violent act, it is not being

 offered to show a propensity to commit other violent acts or other crimes. As the Government

 noted in their brief, the “Court can cure any prejudicial impact arising from the evidence by an



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 admonishment and jury instruction indicating that the jury should consider evidence of [Mr.]

 Duff’s assault upon [Mr.] Sanchez-Sarmiento only to show his motive to commit the mail fraud

 crime, and not as evidence of [Mr.] Duff’s bad character.” Dkt. 1771 at 7.

                                        IV. CONCLUSION

            Accordingly, Mr. Duff’s Motion in Limine (Dkt. 1633) is DENIED. The Court reiterates

 that its decision is preliminary. If the parties wish to renew any arguments as the trial unfolds,

 they are free to approach the bench and do so. See United States v. Connelly, 874 F.2d 412, 416

 (7th Cir. 1989) (emphasizing that an order either granting or denying a motion in limine is “a

 preliminary decision . . . subject to change based upon the court’s exposure to the evidence at

 trial”).


            SO ORDERED.

                                                 ________________________
         08/08/2013
 Date: ________________                          Hon. Tanya Walton Pratt, Judge
                                                 United States District Court
                                                 Southern District of Indiana
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